Case 3:20-cv-00538-MHL-RCY Document8 Filed 09/25/20 Page 1 of 1 PagelD# 24

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

COHAN ISMOND,

Petitioner.
Vv. Civil Action No. 3:20CV538

DEPARTMENT OF HOMELAND SECURITY, et ai.,

Respondents.

MEMORANDUM OPINION

Petitioner, a federal prisoner proceeding pro se, submitted a 28 U.S.C. § 2241 petition.
By Memorandum Order entered on August 26, 2020, the Court directed Petitioner. within eleven
(11) days of the date of entry thereof, to pay the $5.00 filing fee or explain any special
circumstances that would warrant excusing payment of the filing fee. The Court warned
Petitioner it would dismiss the action if Petitioner did not pay the filing fee or explain any special
circumstances that would warrant excusing payment of the filing fee. More than eleven (11)
days have elapsed since the entry of the August 26, 2020 Memorandum Order and Petitioner has
not responded. Accordingly, the action will be DISMISSED WITHOUT PREJUDICE.

An appropriate Order shall accompany this Memorandum Opinion.

 
  
 

M. Hannah L:

United States Diktrict Judge

Date: Seplermbi- XT, 2020

Richmond, Virginia
